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                    UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF CALIFORNIA

  WELLS FARGO BANK, N.A.                CASE NO.
                                        5:20−cv−01617−DSF−SP
               Plaintiff(s),
        v.                               Order to Show Cause re
  JOHN F. HAYES, et al.                  Dismissal for Lack of
                                         Prosecution
              Defendant(s).




       Generally, defendants must answer the complaint within 21 days after
     service or 60 days if the defendant is the United States. Fed. R. Civ. P.
     12(a)(1).
        In this case, John F. Hayes, Maureen K. Hayes, Teri Legat, and Tamara
     Bruner failed to plead or otherwise defend within the relevant time. The
     Court orders plaintiff to show cause in writing on or before October 16, 2020
     why the claims against the non-appearing defendant(s) should not be
     dismissed for lack of prosecution. Failure to respond to this Order may
     result in sanctions, including dismissal for failure to prosecute.

       IT IS SO ORDERED.

  Date: October 2, 2020                      /s/ Dale S. Fischer
                                            Dale S. Fischer
                                            United States District Judge
